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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

       v.                                                        DECISION AND ORDER

                                                                       07-CR-304S

GERALD E. BOVE,

                     Defendant.



                                   I. INTRODUCTION

       Presently before this Court is Defendant Gerald E. Bove’s application for payment

by the government of attorney’s fees and expenses that he incurred defending against

criminal charges lodged against him. (Docket No. 624.) Bove’s application is brought

under the Hyde Amendment, 18 U.S.C. § 3006A, which provides for such payment when

a court finds that the government’s position was vexatious, frivolous, or in bad faith. For

the following reasons, Bove’s application is denied.

                                   II. BACKGROUND

       On March 7, 2014, a federal jury acquitted Bove of one count of Hobbs Act

conspiracy, in violation of 18 U.S.C. §§ 1951 (a) and 2, and one count of Attempted Hobbs

Act Extortion, in violation of 18 U.S.C. §§ 1956 (a) and 2. (Docket Nos. 585, 590.) The

charges stemmed from the activities of the International Union of Operating Engineers,

Local 17, AFL-CIO (“Local 17") and its members.

       This Court entered a judgment of acquittal on March 19, 2014. (Docket No. 604.)

Approximately one month later, on April 18, 2014, Bove applied for payment of his

attorney’s fees and expenses under the Hyde Amendment, Pub.L. No. 105-119, § 617, 111
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Stat. 2440, 2519 (1997) (reprinted in 18 U.S.C. § 3006A, historical and statutory notes).

(Docket No. 624.) The government responded to Bove’s application on May 5, 2014.

(Docket Nos. 641, 642.) Bove thereafter filed three submissions in reply over the course

of a year or so. (Docket Nos. 651, 696, 768.)

        Bove maintains that the government’s prosecution of him was vexatious, frivolous,

or in bad faith because it pursued a faulty legal theory that had no evidentiary support,

presented witness testimony that it knew to be suspect, and leveled charges against him

without regard to his criminal culpability. (Affidavit of Gerald E. Bove (“Bove Aff.”), Docket

No. 624, ¶¶ 11--14, 16-23, 24 .) In particular, Bove argues that the government’s theory

that he and Local 17 illegally sought compensation for “unwanted, unnecessary, and

superfluous labor” was legally deficient and unsupported by competent evidence. (Bove

Aff., ¶¶ 11-12.) He maintains that the government conceded as much when it changed its

theory of extortion to one seeking to “replace non-union workers with union workers,” a

theory that he notes was ultimately rejected by this Court. (Bove Aff., ¶ 13; Second

Supplemental Reply, Docket No. 768.) In addition, Bove contends that the government

presented the testimony of Phillip Hale, the principle witness against him, knowing that

Hale made materially inconsistent statements before trial and then testified falsely, or at

least not credibly. (Bove Aff., ¶¶ 17-23.) Finally, Bove maintains that the conduct the

government charged him with engaging in was protected by the First Amendment and the

National Labor Relations Act,1 and that the government included him in the superseding



        1
          Throughout these proceedings, this Court has rejected Bove’s contentions that his actions were
protected by the First Amendment and the National Labor Relations Act, and he offers nothing at this
stage of the proceedings to compel a different conclusion. See, e.g., Larson, 807 F. Supp. 2d at 166.

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indictment only to insure that all Local 17 officers were charged, without regard to whether

he actually acted criminally. (Bove Aff., ¶¶ 16, 24.)

        The government categorically denies these allegations and maintains that they fall

far short of demonstrating that its prosecution of Bove was vexatious, frivolous, or in bad

faith. Relying on the affidavit of lead prosecutor Assistant United States Attorney Anthony

M. Bruce,2 the government maintains that its prosecution of Bove was supported by

evidence that, if found persuasive by the jury, would have been sufficient to sustain a

conviction or convictions against him. Bruce explains in his affidavit that the government’s

prosecution theory was thoroughly vetted, both locally and at the Department of Justice in

Washington, D.C. (Affidavit of Anthony M. Bruce (“Bruce Aff.”), Docket No. 642, ¶¶ 6, 7.)

It was also heavily litigated, with split decisions from the Magistrate Judge and this Court

concerning whether the indictment should be dismissed. See United States v. Larson, 807

F. Supp. 2d 142 (W.D.N.Y. 2011). Bruce lays out the government’s evidentiary basis for

bringing charges against Bove (see Bruce Aff., ¶¶ 15-24) and explains that the government

was not restricted in any way from offering Hale’s testimony, despite his prior statements

(see Bruce Aff., ¶¶ 25-27).

                                             III. DISCUSSION

A.      Legal Standard

        The Hyde Amendment, the text of which is set out in the margin,3 was “enacted as


        2
            Mr. Bruce has since retired from the United States Attorney’s Office.
        3

                   During fiscal year 1998 and in any fiscal year thereafter, the court, in any
                   criminal case (other than a case in which the defendant is represented by
                   assigned counsel paid for by the public) pending on or after the date of the
                   enactment of this Act [November 26, 1997], may award to a prevailing party,

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part of P.L. 105-119, the $31.8 billion Commerce, Justice and State, the Judiciary, and

Related Agencies Appropriations Act of 1998, and is found as a statutory note to 18 U.S.C.

§ 3006A.” United States v. Schneider, 395 F.3d 78, 85 (2d Cir. 2005) (quoting United

States v. Gilbert, 198 F.3d 1293, 1298 (11th Cir. 1999)). The purpose of the amendment

is “to penalize government for prosecutorial abuses and to deter such inappropriate

conduct.” Schneider, 395 F.3d at 86.

       To that end, the Hyde Amendment permits an award of attorney fees and litigation

expenses under certain circumstances where “the position of the United States was

vexatious, frivolous, or in bad faith, unless the court finds that special circumstances make

such an award unjust.” Pub.L. No. 105-119, § 617, 111 Stat. 2440, 2519. It also

authorizes the court to conduct a hearing concerning the propriety of the United States’s

position, if the defendant makes a substantial threshold showing of entitlement to relief,

i.e., the possible existence of substantial or significant vexatious, frivolous, or bad-faith

conduct. See Schneider, 395 F.3d at 89-90.

       Because the Second Circuit has not yet parsed the statute’s “vexatious, frivolous,


               other than the United States, a reasonable attorney’s fee and other litigation
               expenses, where the court finds that the position of the United States was
               vexatious, frivolous, or in bad faith, unless the court finds that special
               circumstances make such an award unjust. Such awards shall be granted
               pursuant to the procedures and limitations (but not the burden of proof)
               provided for an award under section 2412 of title 28, United States Code.
               To determine whether or not to award fees and costs under this section, the
               court, for good cause shown, may receive evidence ex parte and in camera
               (which shall include the submission of classified evidence or evidence that
               reveals or might reveal the identity of an informant or undercover agent or
               matters occurring before a grand jury) and evidence or testimony so
               received shall be kept under seal. Fees and other expenses awarded under
               this provision to a party shall be paid by the agency over which the party
               prevails from any funds made available to the agency by appropriation. No
               new appropriations shall be made as a result of this provision.

Pub.L. No. 105-119, § 617, 111 Stat. 2440, 2519.

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or in bad faith” language, courts in this circuit have interpreted the terms according to their

ordinary meaning. See, e.g., United States v. Mitselmakher, No. 07-CR-37 (BMC), 2008

WL 5068609, at *7 (E.D.N.Y. Nov. 20, 2008); United States v. Schneider, 289 F. Supp. 2d

328 (E.D.N.Y. 2003). Bad faith, for example, has been construed as “not simply bad

judgment or negligence, but rather it implies the conscious doing of a wrong because of

dishonest purpose or moral obliquity; it contemplates a state of mind affirmatively operating

with furtive design or ill will.” Mitselmakher, 2008 WL 5068609, at *7 (quoting Schneider,

298 F. Supp. 2d at 331-32).

       The defendant bears the burden of proving that the government’s position was

vexatious, frivolous, or in bad faith. Mitselmakher, 2008 WL 5068609, at *7. Importantly,

it is the government’s “position”—the case as a whole—that must be assessed: “trivial

instances of offending conduct” do not give rise to liability, nor will “[a]n acquittal, without

more, . . . lead to a successful Hyde Amendment claim.” Schneider, 395 F.3d at 90 (“there

must be substantial or significant vexatious, frivolous, or bad-faith conduct”). Nor does the

Hyde Amendment “sanction poor judgment or myopia.” Mitselmakher, 2008 WL 5068609,

at *1. This is because “Congress’s intent was to ‘limit Hyde Amendment awards to cases

of affirmative prosecutorial misconduct, rather than simply any prosecution which failed.’”

Id. (quoting United States v. Knott, 256 F.3d 20, 29 (1st Cir. 2001)).

       To determine Hyde Amendment liability, the government’s position must be viewed

from the government’s perspective at the time, including evidence not presented at trial,

instead of through “twenty-twenty hindsight based solely on reasonableness.”

Mitselmakher, 2008 WL 5068609, at *7 (quoting United States v. Sherbourne, 249 F.3d

1121, 1127 (9th Cir. 2001)). In this regard, a “‘presumption of regularity supports . . .

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prosecutorial decisions and, in the absence of clear evidence to the contrary, courts

presume that [prosecutors] have properly discharged their official duties.’” Mitselmakher,

2008 WL 5068609, at *7 (quoting United States v. Armstrong, 517 U.S. 456, 464, 116 S.Ct.

1480, 134 L.Ed.2d 687 (1996)). “Thus, the Hyde Amendment’s ‘plain language . . . places

a daunting obstacle before defendants who seek to obtain attorney fees and costs from

the government following a successful defense of a criminal charge.’” United States v.

Barone, No. S1 09 Cr. 91 (NRB), 2011 WL 4056903, at *2 (S.D.N.Y. Aug. 29, 2011)

(quoting United States v. Gilbert, 198 F.3d 1293, 1302-03 (11th Cir. 1999).

B.      Analysis

        Bove spills much ink laying bare his many objections to the way in which the

government prosecuted its case against him. These objections attack the legitimacy of the

theory of prosecution, cast doubt on the grand jury proceedings, challenge the sufficiency

of the evidence, and question the credibility of witnesses. Most of these objections have

previously been rejected. In particular, this Court denied Bove’s several efforts to dismiss

the charges against him and denied his motion to preclude Hale’s testimony, repeatedly

finding his arguments unpersuasive.

        Even less compelling now is Bove’s resurrection and repackaging of these

arguments as a basis for recovery under the Hyde Amendment. Bove’s burden is to

demonstrate that the government’s position was “vexatious, frivolous, or in bad faith.”

Mitselmakher, 2008 WL 5068609, at *7. That is, he must prove that the government

pursued a groundless position that had little chance of success (frivolous); or that it acted

maliciously or with intent to harass by pursuing an objectively deficient or meritless position

(vexatious); or that it acted with dishonest purpose, ill will, furtive design, or moral obliquity

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(bad faith). See Schneider, 289 F. Supp. 2d at 331-32. Bove fails in this regard.

       First, Bove contends that the government knew its theories of criminal liability were

legally insufficient and unsupported by competent evidence, yet nonetheless pursued them

in bad faith. He assumes that it did so simply because he held a leadership position in

Local 17. But this accusation is contradicted by the Bruce Affidavit, which attests that the

government’s theories were reviewed and approved not only by the hierarchy in the local

United States Attorney’s Office, but also by attorneys in the Organized Crime/Gang Section

of the Criminal Division of the Department of Justice, who are experts in labor racketeering

prosecutions. (Bruce Aff., ¶ 7.) It is further contradicted by Bruce’s recitation of the

government’s evidentiary basis for bringing charges against Bove. (Bruce Aff., ¶¶ 15-24)

       At bottom, what Bove attempts to now characterize as frivolous or vexatious conduct

was simply hard-fought litigation concerning the government’s theory, which, despite

Bove’s protestations to the contrary, found some root in relevant caselaw from both the

United States Supreme Court and Courts of Appeals. See United States v. Kirsch, 07-CR-

304S, 2015 WL 1472122, at * 2-*(W.D.N.Y. Mar. 31, 2015) (discussing the government’s

theory, particularly its reliance on United States v. Mulder, 273 F.3d 91 (2d Cir. 2001)).

While Bove may find the government’s aggressive pursuit of its unsuccessful theories and

charges against him offensive, this Court finds that its actions are not tantamount to

proceeding in bad faith or adhering to a vexatious or frivolous position. See Schneider,

395 F.3d at 90 (“trivial instances of offending conduct” do not give rise to liability, nor will

“[a]n acquittal, without more, . . . lead to a successful Hyde Amendment claim.”); see also

Gilbert, 198 F.3d at 1304 (“A defendant seeking Hyde Amendment fees and costs on the

basis of a legal position the government took in prosecuting him must establish that the

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position was foreclosed by binding precedent or so obviously wrong as to be frivolous.”).

       Bove’s second argument—that the government presented the testimony of Phillip

Hale in bad faith—is similarly unpersuasive. At trial, Bove claimed to be “sandbagged” as

he sought to preclude Hale’s testimony that Bove threatened him during a meeting.

(Docket No. 510.) He sought preclusion on the basis of non-disclosure, unreliability, and

unfair prejudice. Id. This Court denied Bove’s motion, finding unpersuasive his claims that

he was sandbagged and that the testimony was inherently unreliable or unfairly prejudicial.

(Docket No. 515-1.) In particular, this Court found that issues relating to the alleged

inconsistency in Hale’s statements went to weight, not admissibility. Id. This Court

similarly denied Bove’s subsequent Motion for Reconsideration, which again raised the

issue he presses here: that Hale’s testimony was inconsistent with his previous affidavit

and highly unreliable. (Docket Nos. 518, 522.)

       Despite this Court’s rulings permitting the Hale testimony, Bove now attaches

nefarious motives to the government’s decision to offer Hale as a witness, none of which

are supported by any evidence. Bove faults the government for not confronting Hale about

his prior statements before the grand jury and at trial, for not preparing him better as a

witness, and for having a “manifest disregard for the truth.”      He surmises that the

government acted in bad faith, even though his efforts to preclude this testimony failed.

The government, however, is under no obligation to adopt a defendant’s view of evidence

or assessment of potential witnesses.      In the government’s view, Hale’s testimony,

although perhaps subject to fierce attack on cross-examination, which it was, supported

the charges against Bove, and if credited by the jury, would support a conviction.

Whatever problems Bove perceives with Hale as a witness, the government’s reliance on

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flawed witnesses, even ones who make inconsistent statements, does not necessarily

support a finding of bad faith.     See Schneider, 395 F.3d at 87 (holding that “the

shortcoming of witnesses who directly implicated [the defendant] in the crime are

inadequate to show that the Government lacked a reasonable legal basis for prosecution”).

       Finally, Bove fails to demonstrate with any evidence whatsoever that he was

indicted simply because he was a member of the Local 17 leadership. He thus fails to

overcome the presumption of regularity that attaches to the government’s actions. See

Mitselmakher, 2008 WL 5068609, at *7 (“‘presumption of regularity supports . . .

prosecutorial decisions and, in the absence of clear evidence to the contrary, courts

presume that [prosecutors] have properly discharged their official duties.’”) (quoting United

States v. Armstrong, 517 U.S. 456, 464, 116 S.Ct. 1480, 134 L.Ed.2d 687 (1996)).

                                    IV. CONCLUSION

        To succeed, Bove must have demonstrated that the government pursued a

groundless position that had little chance of success; or that it acted maliciously or with

intent to harass by pursuing an objectively deficient or meritless position; or that it acted

with dishonest purpose, ill will, furtive design, or moral obliquity. See Schneider, 289 F.

Supp. 2d at 331-32. He failed on each front. Bove’s application for payment of attorney

fees and litigation expenses under the Hyde Amendment is therefore denied.

                                        V. ORDER

       IT HEREBY IS ORDERED, that Defendant Gerald E. Bove’s Application for Attorney

Fees and Expenses (Docket No. 624) is DENIED.

       FURTHER, that the Government’s Motion for Leave to File a Sur-Reply is DENIED




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as moot. (Docket No. 657.)

      SO ORDERED.


Dated: November 4, 2016
       Buffalo, New York
                                              /s/William M. Skretny
                                              WILLIAM M. SKRETNY
                                             United States District Court




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